Case: 1:23-cv-17027 Document #: 57 Filed: 05/12/25 Page 1 of 2 PagelD #:120

VO FILED

UNITED STATES DISTRICT COURT
MAY 12 2025

THOMAS G. BRUTON
CLERK, U.S. DISTRICT COURT

Terry Dyson Sr. MN

Plaintiff

NORTHERN DISTRICT OF ILLINOIS

Case Number 23C17027
Judge: Matthew F. Kennelly
Magistrate Judge:

Social Security Administration

Defendant

Motion

| the plaintiff (Terry Dyson Sr) respectful except the Defendant (Social Security Administration) in
the status hearing that took place on May 5, 2025 at 8:45a.m. Openly Admitting from 2017-
2019 as a period of time when Defendant wrongfully withheld Plaintiff benefits that were due

(completely cut off) for three years.

Over this period of time of missing benefits Plaintiff was unable to pay utilities. This loss of
service caused physical damage to the health of the Plaintiff.

In addition, the Plaintiff suffered Mental Stress, Deress, Worried of mind, Depression, loss of
sleep, loss of appetite, emotional distress.

Physical damage effected the most Plaintiff throat became cancerous!

Given an added life sentence Disability and seeing that there is no conflict concerning this
matter.

Wherefore with all due respect to the Honorable Court, | the Plaintiff Terry Dyson Sr. petition
the Honorable court to grant judgement for relief. £02 TAS MoTiow. ANA ThrT

Retief would be FMMVTed FoR The Ame ded ComplarnT
ov All CounTS Fully FAvoRed.
Case: 1:23-cv-17027 Document #: 57 Filed: 05/12/25 Page 2 of 2 PagelD #:121

Statement of Claims

|, Plaintiff Terry Dyson Sr. suffered from this great mental anguish, worriment of mind,
deprivation of property physical loss that these actions caused.

With all due respect to the Honorable Court, | Plaintiff Terry Dyson Sr, petitions the Honorable
Judge for favor and pray the Court to grant judgement for relief.

Plaintiff Terry Dyson Sr. demands judgement against the Defendant Social Security
Administration for Punitive Damages in the sum of Five Million Five Hundred Thousand
dollars($5,500.000) Compensatory Damages in the sum of, Three Million Five Hundred Dollars
($3,500,000) General Damages in the sum of Three Million Five Hundred Thousand Dollars
($3,500,000) and further judgement against Defendant Social Security Administration for special
damages in the sum of Three Million Five Hundred Thousand Dollars($3,500,000) Plus the sum
of this action and such other for further relief as allowable or where the Honorable Court
deems fit for Court costs and Fees, and to get First Fruit in the sum of Sixteen Million Dollars

(16,000,000)

The Honorable Court cheers S28 Low Court cost and
Gees and, to get Sirs Frut.
Thank You for your consideration,

febdy Wayeow An

Terry Dyson Sr.
3738 W. 139" Place

Robbins, IL. 60472

OFFICIAL SEAL
SHARI DORE
NOTARY PUBLIC, STATE OF ILLINOIS
MY COMMISSION EXPIRES: 07/16/2026

